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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ARMANDO CARRILLO, et al. §
§
v. § CIVIL ACTION NO. 3:19-CV-2125-S-BH
§
THE BANK OF NEW YORK MELLON §
FRA THE BANK OF NEW YORK, AS §
TRUSTEE FOR THE §
CERTIFICATEHOLDERS OF THE §
§
§

CWABS INC., ASSET-BACKED
CERTIFICATES, SERIES 2007-10, et al.

After reviewing all relevant matters of record in this case, including the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge, in accordance with
28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Findings and
Conclusions of the Magistrate Judge are correct, and they are accepted as the Findings and
Conclusions of the Court.

Plaintiffs’ Motion to Remand and Brief in Support of Same, filed March 2, 2020 [ECF
No. 11], is DENIED.

SO ORDERED.

SIGNED January 11, 2021,

   

UNITED STATES DISTRICT JUDGE

 

 

 
